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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

                                     :
Brenda Clark-Draheim,                :
                                     : Civil Action No.: ______
                 Plaintiff,          :
      v.                             :
                                     :
American Credit Acceptance, LLC; and : DEMAND FOR JURY TRIAL
Trans Union LLC,                     :
                                     :
                 Defendants.         :
                                     :

                        COMPLAINT & JURY DEMAND

        For this Complaint, Plaintiff, Brenda Clark-Draheim, by undersigned

counsel, states as follows:

                                  JURISDICTION
        1.    This action arises out of Defendants’ violation of the Fair Credit

Reporting Act, 15 U.S.C. § 1681, et seq. (the “FCRA”).

        2.    Jurisdiction is conferred by 15 U.S.C. § 1681(p) and 28 U.S.C. §

1367.

        3.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that Plaintiff resides in this District, Defendants transact business here, and a

substantial portion of the acts giving rise to this action occurred here.
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                                     PARTIES
      4.     Plaintiff, Brenda Clark-Draheim (“Plaintiff”), is an adult individual

residing in Battle Creek, Michigan, and is a “consumer” as the term is defined by

15 U.S.C. § 1681a(c).

      5.     Defendant American Credit Acceptance, LLC (“ACA”) is a South

Carolina business entity with a principal place of business located in Spartanburg,

South Carolina. ACA is an auto lender who furnishes consumer information to the

Credit Reporting Agencies (“CRAs”).

      6.     Defendant Trans Union LLC (“Trans Union” and together with ACA,

“Defendants”) is an Illinois business entity with a principal place of business

located in Chicago, Illinois. Trans Union is a consumer reporting agency as the

term is defined by 15 U.S.C. § 1681(a)(f). Trans Union is regularly engaged in the

business of assembling, evaluating, and dispersing information concerning

consumers for the purpose of furnishing consumer reports, as defined by 15 U.S.C.

§ 1681(a)(d), to third parties.

                             FACTUAL ALLEGATIONS
      7.     In 2017, Plaintiff discovered that ACA was negatively reporting an

account on her credit report. Specifically, ACA was misreporting the last payment

date as January 4, 2017, which several months later than the actual last payment on

the account in early 2016.
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      8.       On or about June 13, 2017, Plaintiff sent a dispute letter to Trans

Union. Plaintiff’s letter explained that she had not made a payment on the account

as reported.

      9.       Nevertheless, to date Defendants continue to report the incorrect last

payment date.

      10.      In addition, Defendants are reporting that Plaintiff’s dispute has been

resolved. This is not true, as Plaintiff continues to dispute that the last payment on

the account was made on January 4, 2017.

      11.      Upon Plaintiff’s notification that the Debt was disputed and request

that it be corrected, and in accordance with their standard procedures, Plaintiff

believes and thereon alleges that Trans Union did not evaluate or consider any of

Plaintiff’s information, claims or evidence, and did not make any attempt to

substantially or reasonably verify ACA’s representations regarding the account.

      12.      In the alternative, in the event that Trans Union did forward notice of

the dispute to ACA, ACA failed to conduct an adequate investigation into

Plaintiff’s dispute and failed to properly update Plaintiff’s credit reports.

                              COUNT I
           VIOLATIONS OF THE FAIR CREDIT REPORTING ACT,
                        15 U.S.C. § 1681, et seq.
      13.      Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.
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      14.   In the entire course of their actions, Defendants willfully and/or

negligently violated multiple provisions of the FCRA in one or more of the

following respects:

               a. Trans Union violated 15 U.S.C. § 1681e(b) by failing to

                      implement and/or follow “reasonable procedures to assure

                      maximum possible accuracy” of the information they publish in

                      consumer credit reports.

               b. Trans Union violated 15 U.S.C. § 1681i by failing to delete or

                      correct inaccurate information in Plaintiff’s credit file after

                      having received actual notice of such inaccuracies; by failing to

                      conduct lawful reinvestigation; by failing to forward all relevant

                      information to ACA; by failing to maintain reasonable

                      procedures with which to filter and verify disputed information

                      in Plaintiff’s credit file; and by relying upon verification from a

                      source it has reason to know is unreliable.

               c. ACA violated 15 U.S.C. § 1681s-2(b) by willfully and/or

                      negligently failing to conduct an investigation with respect to

                      the disputed information; by failing to review all relevant

                      information provided by the consumer reporting agencies

                      pursuant to section 1681i; by failing to modify, delete or
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                   permanently block the disputed information; and by failing to

                   accurately report the status of Plaintiff’s dispute.

         15.    Defendants’ conduct, action, and inaction was willful, rendering

them liable for punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n. In the alternative, Defendants’ conduct was

negligent, entitling Plaintiff to recover damages under 15 U.S.C. § 1681o.

         16.    As a result of Defendants’ conduct, action, and inaction, Plaintiff

incurred actual damages in the form of loss of the ability to purchase and benefit

from credit.

         17.     Plaintiff is entitled to recover costs and attorney’s fees from

Defendants in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681n and/or § 1681o.

                             PRAYER FOR RELIEF
      WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                1. Statutory damages pursuant to 15 U.S.C. § 1681;

                2. Attorney’s fees and costs pursuant to 15 U.S.C. § 1681;

                3. Actual damages pursuant to 15 U.S.C. § 1681;

                4. Punitive damages pursuant to 15 U.S.C. § 1681; and

                5. Such other and further relief as may be just and proper.

               TRIAL BY JURY DEMANDED ON ALL COUNTS
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Dated: August 2, 2017
                                   Respectfully submitted,

                                   By: /s/ Sergei Lemberg, Esq.
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